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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

 Criminal Case No. 14-cr-00281-CMA-2

  UNITED STATES OF AMERICA,

          Plaintiff,

 v.

 1.         RENEE MOLINAR,

          Defendant.

                       Government’s Motion Pursuant to U.S.S.G. § 3E1.1(b)


             THIS MATTER is before the Court on the Government’s Motion Pursuant to

      U.S.S.G. § 3E1.1(b) to decrease the defendant’s offense level by one additional

      level if the Court finds that U.S.S.G. § 3E1.1(a) applies in this case.

             The COURT, having found that the defendant has clearly demonstrated

      acceptance of responsibility for his offenses consistent with U.S.S.G. §E1.1(a),

      and being otherwise advised in the premises,

             HEREBY GRANTS said motion, and ORDERS that the defendant’s offense

      level be decreased by 1 additional level pursuant to §3E1.1.

             DATED: ____________________, 2016.

                                                       BY THE COURT:


                                                    CHRISTINE M. ARGUELLO
                                                    UNITED STATES DISTRICT JUDGE
